         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 1 of 17




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



 LOGAN CHENG f/k/a Shuiyan Cheng,

                     Plaintiff,                             1:20-cv-05678-KPF

 -v-

 WENGUI GUO,
                    Defendant.                             MEMO ENDORSED
                            STIPULATED PROTECTIVE ORDER

Proceedings and Information Governed.

       1.      This Order (“Stipulated Protective Order”) is made under Fed. R. Civ. P. 26(c). It

governs the handling, use, and disclosure of any information, document, electronically stored

information (“ESI”), or other thing produced in this matter, including, but not limited to:

information, documents, ESI, and things produced or made available for inspection in response to

document requests or subpoenas; information, documents, ESI, or other things produced by non-

parties; answers to interrogatories; answers to requests for admission; responses to requests for

production of documents; deposition testimony, transcripts, and videotapes; deposition exhibits;

testimony adduced at trial; matters in evidence; and other writings or things produced, given, or

filed in this action that are designated by Plaintiff Logan Cheng or by Defendant Wengui Guo

(“Parties,” when referred to collectively herein, and each a “Party” when referred to individually

herein) as “Confidential Information” or “Attorneys’ Eyes Only” in accordance with the terms of

this Stipulated Protective Order, as well as to any copies, excerpts, abstracts, analyses, summaries,

descriptions, or other forms of recorded information containing, reflecting, or disclosing such
         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 2 of 17




information. Such information, documents, ESI and other things described above shall be referred

to herein as “Discovery Material.”

Designation and Maintenance of Information.

       2.      For purposes of this Stipulated Protective Order: (a) the “Confidential Information”

designation means that the Discovery Material so labeled is comprised of personal, commercial,

or otherwise private information that is not publicly known or readily ascertainable, protected in

accordance with Fed. R. Civ. P. 26(c), or other information required by law or agreement to be

kept confidential, and which is in fact kept confidential by the producing party; and (b) the

“Attorneys’ Eyes Only” designation means that the Discovery Material so labeled is comprised of

information that is especially sensitive, which may include, but is not limited to, trade secrets,

confidential research and development, financial, technical, marketing, or other sensitive trade

secret information, information that is of technical or commercial advantage to its possessor, an

individual’s family, financial, medical, personnel records, or other highly-sensitive or personally

identifying information, information capable of being utilized for improper purpose by the non-

producing party, or other information required by law or agreement to be kept highly confidential

and which is in fact kept confidential by the producing party.

       Confidential Information and material designated Attorneys’ Eyes Only does not include,

and this Stipulated Protective Order does not apply to: (a) information that already is legitimately

known or legitimately in the possession of the party to whom disclosure is made, unless that party

is already bound by agreement not to disclose such information; (b) information that has been

disclosed to the public or third persons in a manner making such information no longer

confidential; or (c) information disclosed to a receiving party by a third party without breach of an

obligation of confidence to the producing party. The Parties shall use reasonable efforts to



                                                 2
         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 3 of 17




determine whether particular Discovery Material qualifies for designation as Confidential

Information or Attorneys’ Eyes Only.

       Except for Discovery Material made available for inspection at the Parties’ respective

facilities (to the extent permitted), confidentiality designations shall be made prior to, or

contemporaneously with, the production or disclosure of that information. In the event that

Discovery Material is made available for inspection at the Parties’ respective facilities, such

Discovery Material may be made available for inspection before being assigned a confidentiality

designation.   Once specific documents have been designated for copying, any documents

containing Confidential Information or material designated Attorneys’ Eyes Only will then be

marked accordingly after copying but before production to the party who inspected and designated

the documents. There will be no waiver of confidentiality by the inspection of confidential

documents before they are copied and marked Confidential Information or Attorneys’ Eyes Only

pursuant to this procedure. Inspection of documents or other things during an on-site inspection

shall be conducted only by persons permitted access to material designated Attorneys’ Eyes Only

pursuant to Paragraph 9 below.

       3.      Documents and other Discovery Material produced during the course of this

litigation within the scope of Paragraph 2 above may be designated by the producing party as

containing Confidential Information or material designated Attorneys’ Eyes Only, as the case may

be, by placing on each page and each thing, in a manner which will not interfere with its legibility,

a legend substantially as follows:

                                        CONFIDENTIAL

                                                 or

                                  ATTORNEYS’ EYES ONLY



                                                 3
         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 4 of 17




        All copies, duplicates, extracts, summaries, or descriptions of documents and other

Discovery Material produced that are designated as Confidential Information or Attorneys’ Eyes

Only under this Stipulated Protective Order (hereinafter referred to as “Confidential Copies”) shall

immediately be affixed with the appropriate legend of “Confidential” or “Attorneys’ Eyes Only”

by the party that created such Confidential Copies if such appropriate legend does not already

appear on the documents or Discovery Material.

        A party may designate information disclosed at a deposition as Confidential Information

or Attorneys’ Eyes Only by requesting on the record at the time of the deposition that the reporter

so designate the transcript or any portion of the transcript. If such a request is made, then the

reporter shall indicate on the cover page of the transcript that the transcript contains Confidential

Information or material designated Attorneys’ Eyes Only, and the reporter shall list the pages and

line numbers of the transcript on which the information in question is contained. If no such

designation is made at the time of the deposition, then any Party will have seven (7) calendar days

after receipt of the deposition transcript to designate, in writing to the other Parties and to the court

reporter, whether the transcript is to be designated as Confidential Information or Attorneys’ Eyes

Only. The designation shall contain a list of the numbers of the pages and lines of the transcript

that contain Confidential Information or material designated Attorneys’ Eyes Only. If no such

designation is made at the deposition or within this seven-day period (during which period, the

transcript must be treated as material designated Attorneys’ Eyes Only, unless the disclosing party

consents to less confidential treatment of the information), then the entire deposition transcript will

be considered devoid of Confidential Information or material designated Attorneys’ Eyes Only,

except for any exhibits to such transcript that were previously designated as Confidential

Information or Attorneys’ Eyes Only.



                                                   4
         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 5 of 17




       Each party and the court reporter must attach a copy of any final and timely written

designation notice to the transcript and each copy of the transcript in its possession, custody, or

control, and the portions designated in such notice must thereafter be treated in accordance with

this Stipulated Protective Order. It is the responsibility of counsel for each party to maintain

materials containing Confidential Information or material designated Attorneys’ Eyes Only in a

secure manner and appropriately identified so as to allow access to such information only to such

persons and under such terms as are permitted and required under this Stipulated Protective Order.

       A designating party shall have the right to exclude from attendance at a deposition, during

such time as Confidential Information or material designated Attorneys’ Eyes Only is to be

discussed or disclosed, any person other than the deponent, the court reporter, and persons

permitted to access said Confidential Information or Attorneys’ Eyes Only information under

Paragraphs 8 and 9 below.

Inadvertent Production of Privileged Materials and Failure to Designate.

       4.      Pursuant to Fed. R. Evid. 502(d) and (e), the disclosure during discovery of any

communication or information (hereinafter, “Document”) that is protected by the attorney-client

privilege (“Privilege” or “Privileged,” as the case may be) or work-product protection

(“Protection” or “Protected,” as the case may be), as defined by Fed. R. Evid. 502(g), shall not

waive the Privilege or Protection in the above-captioned case, or any other federal or state

proceeding, for either that Document or the subject matter of that Document, unless there is an

intentional waiver of the Privilege or Protection to support an affirmative use of the Document in

support of the party’s claim or defense, in which event the scope of any such waiver shall be

determined by Fed. R. Evid. 502(a)(2) and (3). The Parties intend that this Stipulated Protective

Order shall displace the provisions of Fed. R. Evid. 502(b)(1) and (2). That is, all disclosures not



                                                 5
          Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 6 of 17




made to support an affirmative use of the Document in support of a party’s claim or defense shall

be regarded as “inadvertent,” and the producing party is hereby deemed to have taken “reasonable

steps to prevent disclosure,” regardless of any argument or circumstances suggesting otherwise.

         Except when the requesting party contests the validity of the underlying claim of Privilege

or Protection (including a challenge to the reasonableness of the timing or substance of the

measures undertaken by the producing party to retrieve the Document(s) in question), any

Document(s) the producing party claims as Privileged or Protected shall, upon written request,

promptly be returned to the producing party and/or destroyed, at the producing party’s option. If

the underlying claim of Privilege or Protection is contested, then the Parties shall comply with,

and the requesting party may promptly seek a judicial determination of the matter pursuant to, Fed.

R. Civ. P. 26(b)(5)(B). In assessing the validity of any claim of Privilege or Protection, the Court

shall not consider the provisions of Fed. R. Evid. 502(b)(1) and (2),but shall consider whether

timely and otherwise reasonable steps were taken by the producing party to request the return or

destruction of the Document once the producing party had actual knowledge of (i) the

circumstances giving rise to the claim of Privilege or Protection and (ii) the production of the

Document in question.

         For purposes of this Section, “destroyed” shall mean that the paper versions are shredded,

that active electronic versions are deleted, and that no effort shall be made to recover versions that

are not readily accessible, such as those on backup media or only recoverable through forensic

means.

         For purposes of this Section, “actual knowledge” refers to the actual knowledge of an

attorney of record or other attorney with lead responsibilities in the litigation (for example, lead

counsel, trial counsel, or a senior attorney with managerial responsibilities for the litigation).



                                                  6
         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 7 of 17




       5.      The inadvertent failure to designate any Discovery Material as Confidential or

Attorneys’ Eyes Only will not be deemed to waive a person’s right to later designate or to prevent

a party from later designating such material as Confidential or Attorneys’ Eyes Only. The

Discovery Material must be treated by the receiving party as Confidential or Attorneys’ Eyes Only

from the time the receiving party is notified in writing of the change in the designation. If the

material that was inadvertently not designated already has been, by the time of the later

designation, filed with the Court and has not been sealed, then the party or person that failed to

make the designation may move for appropriate relief. No other party has any obligation to move

for such relief under these circumstances.

Challenge to Designations.

       6.      A receiving party shall not be obligated to challenge the propriety of a designation

of information as protected at the time made, and the failure to do so shall not preclude a

subsequent challenge thereto. A receiving party may challenge a producing party’s designation at

any time. Any receiving party disagreeing with a designation may request in writing that the

producing party change the designation. The producing party will then have five (5) business days

after receipt of a challenge notice to advise the receiving party whether or not it will change the

designation. If the Parties are unable to reach agreement after the expiration of this five (5)

business-day time frame, during which the Parties shall attempt, in good faith, to resolve their

dispute, then the receiving party may at any time thereafter raise the issue with the Court, pursuant

to Local Civil Rule 37.2. Until any dispute under this Paragraph is ruled upon by the presiding

judge, the designation will remain in full force and effect, and the information will continue to be

accorded the confidential treatment required by this Stipulated Protective Order. The provisions

of Fed. R. Civ. P. 37(a)(5) apply to any motion challenging the producing party’s designation.



                                                 7
         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 8 of 17




Disclosure and Use of Confidential Information.

        7.      Discovery Material designated as Confidential Information or Attorneys’ Eyes

Only may be used only for purposes of the litigation, trial, appeal, and proceeding to enforce a

judgment or settlement of this action, if any.

        8.      Subject to Paragraph 11 below, Confidential Information may be disclosed by the

receiving party only to the following individuals, provided that such individuals are informed of

and agree to be bound by the terms of this Stipulated Protective Order: (a) parties who are

individuals or employees, officers, and/or directors of a party that is a business entity, but only

those employees, officers, and/or directors required in good faith to provide assistance in the

conduct of the litigation in which the information was disclosed (and in no event more than five

(5) such employees, officers, and/or directors); (b) counsel of record for the receiving party and

employees of such counsel who have direct functional responsibility for the preparation and trial

of the lawsuit; any such employee to whom specially retained counsel for the Parties makes a

disclosure shall be provided with a copy of, and become subject to, the provisions of this Order

requiring that the documents and information be held in confidence; (c) court reporters engaged

for depositions and those persons, if any, specifically engaged for the limited purpose of making

photocopies, images, or litigation-review databases of documents; (d) this Court, including any

appellate court for this action, and the court reporters and support personnel for the same. Prior to

disclosure to any such court reporter or person engaged in making photocopies of documents, such

person must agree to be bound by the terms of this Order; and (e) consultants, investigators, or

experts (hereinafter referred to collectively as “experts”), employed by the Parties or counsel of

record for the Parties, to assist in the preparation and trial of the lawsuit. Prior to disclosure, those

individuals identified in subparagraph (e) must be informed of and agree in writing (by signing



                                                   8
          Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 9 of 17




the Confidentiality Agreement in the form attached hereto as Exhibit A) to be subject to the

provisions of this Order requiring that the documents and information be held in confidence.

        9.            Subject to Paragraph 11 below, material designated Attorneys’ Eyes Only may be

disclosed to the persons described in Paragraphs 8(b), 8(c), 8(d), and 8(e). Discovery Material

containing material designated Attorneys’ Eyes Only produced under this Stipulated Protective

Order shall not be produced or disclosed to any other person without the express written

permission of the producing party.

        10.           Counsel is responsible for the adherence by persons described in Paragraph 8(b) to

the terms and conditions of this Stipulated Protective Order. Counsel may fulfill this obligation

by obtaining a signed Confidentiality Agreement in the form attached as Exhibit B.

        11.           Confidential Information or material designated Attorneys’ Eyes Only may be

disclosed only during a deposition or at trial to a person who is not already allowed access to such

information under this Stipulated Protective Order if:

        (a)           the information was previously authored or legitimately received by the person or

             was authored or legitimately received by a director, officer, employee, or agent of the

             company for whom the person is testifying as a designee under Fed. R. Civ. P. 30(b)(6),

             as demonstrated by the information itself or foundation testimony during a deposition or

             trial;

        (b) the designating party is the person or is a party for whom the person is a director,

               officer, employee, consultant, or agent; or

        (c) counsel for the party designating the material agrees that the material may be disclosed

               to the person.

        In the event of disclosure under this Paragraph, only the reporter, the person, his or her

counsel, the presiding judge, and persons to whom disclosure may be made and who are bound by
                                                      9
        Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 10 of 17




this Stipulated Protective Order, may be present during the disclosure or discussion of Confidential

Information or material designated Attorneys’ Eyes Only. In addition, unless the individual to

whom disclosure is made under this Paragraph otherwise is permitted to receive the information

under this Stipulated Protective Order, such person shall not be permitted to retain a copy of the

document. Disclosure of material pursuant to this Paragraph does not constitute a waiver of the

confidential status of the material so disclosed.

Non-Party Information.

       12.     The existence of this Stipulated Protective Order must be disclosed to any person

producing documents, tangible things, or testimony in this action who may reasonably be expected

to desire confidential treatment for such documents, tangible things, or testimony. Any such

person may designate documents, tangible things, or testimony confidential pursuant to this

Stipulated Protective Order.

Filing Documents with the Court.

       13.     To the extent that any materials subject to this Stipulated Protective Order (or any

pleading, motion, or memorandum disclosing them) are proposed to be filed with the Court, the

filing party shall move that those materials and papers, or any portion thereof which discloses

confidential information, be filed under seal, in accordance with Section 6 of the United States

District Court for the Southern District of New York’s Electronic Case Filing Rules & Instructions

and Rule 9 of Judge Failla’s Individual Rules of Practice in Civil Cases. Even if the filing party

believes that the materials subject to the Stipulated Protective Order are not properly classified as

confidential, the filing party shall file a motion to file documents under seal, as required by Section

6 of the United States District Court for the Southern District of New York’s Electronic Case Filing

Rules & Instructions; provided, however, that the filing of the motion to file documents under seal



                                                    10
        Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 11 of 17




shall be wholly without prejudice to the filing party’s rights under Paragraph 6 of this Stipulated

Protective Order (providing for the right to challenge a particular confidentiality designation) or

to otherwise contest the propriety of a seal on those documents.

       Nothing herein shall prohibit the filing party and the designating party from agreeing to

allow Confidential Information or material designated Attorneys’ Eyes Only, in appropriately

redacted form, from being used in any court filing without the necessity of moving that the filing

be made under seal.

No Prejudice.

       14.      Signing or agreeing to the entry of, producing, or receiving Confidential

Information or material designated Attorneys’ Eyes Only pursuant to, or otherwise complying

with, the terms of this Stipulated Protective Order, will not: (a) operate as an admission by any

party that any particular Confidential Information or material designated Attorneys’ Eyes Only

contains or reflects trade secrets or any other type of confidential or proprietary information; (b)

prejudice the rights of a party to object to the production of information or material that the party

does not consider to be within the scope of discovery; (c) prejudice the rights of a party to seek a

determination by the presiding judge that particular materials be produced; (d) prejudice the rights

of a party to apply to the presiding judge for further protective orders; (e) prejudice the rights of a

party to request additional protection; (f) prevent the Parties from agreeing in writing to alter or

waive the provisions or protections provided for in this Stipulated Protective Order with respect to

any particular information or material; or (g) constitute or be construed as: an agreement by any

person to produce any documents or to supply any information, a waiver or forfeiture of any trade

secret, intellectual property, or proprietary right to, in, or with respect to any Confidential

Information or material designated Attorneys’ Eyes Only, or a modification, discharge, or



                                                  11
        Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 12 of 17




abandonment of any pre-existing legal obligation that any designating party may have to keep any

discovery material confidential or secret.

Conclusion of Litigation.

       15.     Within sixty (60) calendar days after final judgment in this action, including the

exhaustion of all appeals, within sixty (60) calendar days after dismissal pursuant to a settlement

agreement, or within sixty (60) calendar days of the filing of a notice of satisfaction of judgment

in this action, whichever is later, each party or other person subject to the terms of this Stipulated

Protective Order shall destroy or return to the producing party all Discovery Material containing

Confidential Information or material designated Attorneys’ Eyes Only, and to certify to the

producing party that this destruction or return has been done. However, outside counsel for any

party is entitled to retain all court papers, discovery responses, deposition and trial transcripts,

deposition and trial exhibits, and attorney work product, provided that any such materials are

maintained and protected in accordance with the terms of this Stipulated Protective Order. The

Clerk can return to counsel or destroy any sealed material at the end of the litigation.

Other Proceedings.

       16.     If another court or administrative agency subpoenas or orders production of

Discovery Material that is or contains Confidential Information or material designated Attorneys’

Eyes Only from a non-designating party, then such person shall transmit a copy of such subpoena

or order to the designating party as soon as reasonably possible after receiving it, but in no event

later than five (5) business days before the date of production set forth in the subpoena or order.

The designating party shall then have two (2) business days to notify the person receiving the

subpoena or order of the designating party’s intent to intervene to resist the subpoena. Should the

designating party give notice of such an intent, the party receiving the subpoena shall cooperate



                                                 12
        Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 13 of 17




with the designating party and take reasonable measures to protect the interests of the designating

party, including objecting to the subpoena on the basis of this Stipulated Protective Order and

taking steps necessary to withhold production while the intervening party’s motion is pending.

Remedies.

       17.     It is Ordered that this Stipulated Protective Order may be enforced by such

sanctions as are available to the presiding judge, including the power to hold Parties or other

violators of this Stipulated Protective Order in contempt. All other remedies available to any

person injured by a violation of this Stipulated Protective Order are fully reserved.

       18.     Any Party may petition the presiding judge for good cause shown if the Party

desires relief from a term or condition of this Stipulated Protective Order.



         March 1, 2021
Date: __________________________

                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE




This Protective Order does not bind the Court or any of its
personnel. The Court can modify this stipulation at any time. The
Court will retain jurisdiction over the terms and conditions of
this agreement only for the pendency of this litigation. Any party
wishing to make redacted or sealed submissions shall comply with
Rule 6(A) of this Court's Individual Rules of Civil Procedure.




                                                 13
        Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 14 of 17




                                            Exhibit A

                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 LOGAN CHENG f/k/a Shuiyan Cheng,

                    Plaintiff,
                                                            1:20-cv-05678-KPF
 -v-

 WENGUI GUO,

                    Defendant.


                        CONFIDENTIALITY AGREEMENT FOR
                       EXPERT OR CONSULTANT OF ANY PARTY

I, _______________________________, hereby affirm that:

       Information, documents, electronically stored information (“ESI”), or other things

designated as “Confidential Information” or “Attorneys’ Eyes Only,” as defined in the Stipulated

Protective Order entered in the above-captioned action (“Stipulated Protective Order”), is being

provided to me pursuant to the terms and restrictions of the Stipulated Protective Order.

       I have been given a copy of and have read the Stipulated Protective Order.

       I am familiar with the terms of the Stipulated Protective Order and I agree to comply with

and to be bound by its terms.

       I submit to the jurisdiction of this Court for enforcement of the Stipulated Protective Order.

       I agree not to use any Confidential Information or material designated Attorneys’ Eyes

Only disclosed to me pursuant to the Stipulated Protective Order except for purposes of the above-

captioned litigation and not to disclose any of this information to persons other than those

specifically authorized by the Stipulated Protective Order, without the express written consent of
        Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 15 of 17




the party who designated the information as confidential or by order of the presiding judge. I also

agree to notify any stenographic, clerical, or technical personnel who are required to assist me of

the terms of this Stipulated Protective Order and of its binding effect on them and me.

       I understand that I am to retain all documents or materials designated as or containing

Confidential Information or material designated Attorneys’ Eyes Only in a secure manner, and that

all such documents and materials are to remain in my personal custody until the completion of my

assigned duties in this matter, whereupon all such documents and materials, including all copies

thereof, and any writings prepared by me containing any Confidential Information or material

designated Attorneys’ Eyes Only are to be promptly returned to counsel who provided me with

such documents and materials.




Executed this ____ day of _________________, 20___. ______________________________
                                                      [NAME]




                                                2
         Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 16 of 17




                                                 Exhibit B

                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK



        LOGAN CHENG f/k/a Shuiyan Cheng,

                                   Plaintiff,                           1:20-cv-05678-KPF

                           -v-

                   WENGUI GUO,

                                  Defendant.



                                 CONFIDENTIALITY AGREEMENT FOR
                                      THIRD-PARTY VENDORS

I, _______________________________, hereby affirm that:

        Information, documents, electronically stored information (“ESI”), or other things designated as

“Confidential Information” or “Attorneys’ Eyes Only,” as defined in the Stipulated Protective Order entered

in the above-captioned action (“Stipulated Protective Order”), is being provided to me pursuant to the terms

and restrictions of the Stipulated Protective Order.

        I have been given a copy of and have read the Stipulated Protective Order.

        I am familiar with the terms of the Stipulated Protective Order and I agree to comply with and to

be bound by its terms.

        I submit to the jurisdiction of this Court for enforcement of the Stipulated Protective Order.

        I agree not to use any Confidential Information or material designated Attorneys’ Eyes Only

disclosed to me pursuant to the Stipulated Protective Order except for purposes of the above-captioned

litigation and not to disclose any of this information to persons other than those specifically authorized by

the Stipulated Protective Order, without the express written consent of the party who designated the

information as confidential or by order of the presiding judge.
  Case 1:20-cv-05678-KPF Document 33 Filed 03/01/21 Page 17 of 17



Executed this ____ day of _________________, 20___. ______________________________
                                                                   [NAME]




                                        2
